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                              LAW OFFICES OF
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via ECF                                                       November 7, 2020



                                                        MEMO ENDORSED
Hon. Katherine Polk Failla
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007                                    Re: Sprinkle of Jesus Corp., et. al. v. Lewis,
                                                      SDNY 20-CV-5591

Dear Judge Failla:

       I represent the Defendant in the above-referenced action. This is to request adjournment of
the Conference scheduled for November 18, 2020 due to a conflict. This is the first request for
adjournment of the Conference by either party.

       I have consulted with opposing counsel, and Plaintiff’s attorney did not consent to this
request. Plaintiff’s attorney advised that he will be unavailable and traveling after the current
scheduled date through January.

       As such, I respectfully request adjournment of the Conference to a date following opposing
counsel’s return. If the Court is unable to accommodate this request, I respectfully request that the
Conference on November 18, 2020 at 10:30am be converted to a telephone conference.

                                                              Respectfully submitted,

                                                              /s/ Todd Wengrovsky

                                                              Todd Wengrovsky
cc: Keith White, Esq.
Counsel for Plaintiff, via ECF
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The Court will dispense with the pre-motion conference and set the
briefing schedule for the motion to dismiss as follows: Defendant's
motion is due on or before December 9, 2020; Plaintiffs' opposition
is due on or before January 8, 2021; and Defendant's reply is due on
or before January 22, 2021. The conference scheduled for November
18, 2020, is hereby ADJOURNED sine die.



Dated:   November 9, 2020               SO ORDERED.
         New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
